                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                        CRIMINAL DOCKET NO. 5:05cr5-V


UNITED STATES OF AMERICA        )
                                )
           vs.                  )
                                )
JOSHUA HURLEY - 2               )                              ORDER
BYRON KEITH MARTIN - 3          )
TODD MONROE ELLER - 4           )
DARREN JAY TAYLOR - 5           )
MICHAEL ANDREW FLOWERS - 6      )
RYAN WAGONER - 7                )
COLLIN BEACH - 9                )
________________________________)


       THIS MATTER is before the Court on its own motion to continue the captioned
criminal matter from the 11 July 2005 term in the Statesville Division.
       The Court finds that the Defendants' cases are "joined for trial with a co-defendant
as to whom the time for trial has not run and no motion for severance has been granted,"
18 U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends
of justice served by taking such action outweigh the best interest of the public and the
Defendants to a speedy trial.
       IT IS, THEREFORE, ORDERED that this case is hereby continued from the July
2005 term in the Statesville Division to the 12 September 2005 term in the Statesville
Division.




    Case 5:05-cr-00005-RLV-DCK         Document 64      Filed 06/23/05    Page 1 of 2
                       Signed: June 22, 2005




Case 5:05-cr-00005-RLV-DCK   Document 64   Filed 06/23/05   Page 2 of 2
